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 4   Telephone: (916) 554-2700
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 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                ) 2:10-CR-0292 LKK
                                              )
12               Plaintiff,                   )
                                              )
13          v.                                ) STIPULATION AND ORDER
                                              ) CONTINUING STATUS CONFERENCE
14   ROBERT “Robbie” SCOTT.                   )
                                              )
15                Defendant.                  )
                                              )
16
17                                      ORDER
18          The parties request that the status conference currently set
19   for December 20, 2011, at 9:15 a.m., be continued to April 10,
20   2012, at 9:15 a.m., and stipulate that the time beginning
21   December 20, 2011, and extending through April 10, 2012, should
22   be excluded from the calculation of time under the Speedy Trial
23   Act.   18 U.S.C. § 3161.
24          The defendant’s matter is being trailed pending Judgment and
25   Sentencing of his codefendant, Peter Scott.          A sound resolution
26   of the defendant’s case can only be reached after his
27   condefendant is sentenced.       As a result, the additional time is
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 1   necessary to ensure defense counsel’s effective preparation,
 2   taking into account the exercise of due diligence.           18 U.S.C. §
 3   3161(h)(7)(B)(iv); Local Code T4.
 4          Accordingly, the parties believe that the continuance should
 5   be excluded from the calculation of time under the Speedy Trial
 6   Act.   The additional time is necessary to ensure effective
 7   preparation, taking into account the exercise of due diligence.
 8   18 U.S.C. § 3161(h)(8)(B)(iv); Local Code T4.          The interests of
 9   justice served by granting this continuance outweigh the best
10   interests of the public and the defendant in a speedy trial.             18
11   U.S.C. § 3161(h)(8)(A).
12
13   DATED: December 14, 2011                 Respectfully Submitted,

14                                            BENJAMIN B. WAGNER
                                              United States Attorney
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16
17                                      By:    /s/ Kyle Reardon
                                              KYLE REARDON
18                                            Assistant U.S. Attorney

19
20
     DATED: December 14, 2011           By:    /s/ Kyle Reardon for
21                                            MATTHEW BOCKMON
                                              Attorney for the Defendant
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                                         2       Stipulation and (Proposed) Order
                                                    United States v. Robert Scott
                                                                 2:10-CR-0292 LKK
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 1                                       ORDER
 2        The status conference for defendant Robert “Robbie” Scott in
 3   case number S-10-0292 LKK, currently set for Tuesday, December
 4   20, 2011, at 9:15 a.m., is continued to Tuesday, April 10, 2012,
 5   at 9:15 a.m., and the time beginning December 20, 2011, and
 6   extending through April 10, 2012, is excluded from the
 7   calculation of time under the Speedy Trial Act in accordance with
 8   18 U.S.C. § 3161 and Local Code T4.         The Court finds that the
 9   interests of justice served by granting this continuance outweigh
10   the best interests of the public and the defendant in a speedy
11   trial.
12        IT IS SO ORDERED.
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15   DATED: December 15, 2011
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                                          3       Stipulation and (Proposed) Order
                                                     United States v. Robert Scott
                                                                  2:10-CR-0292 LKK
